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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
                                                 •x

AUTOMOBILE CLUB OF NEW YORK,
1NC. d/b/a AAA NEW YORK and AAA
NORTH JERSEY,INC.,

                      Plaintiffs,                  No. 11 Civ. 6746(RKE)(HBP)

       -against-

THE PORT AUTHORITY OF NEW YORK
AND NEW JERSEY,

                      Defendant.



    SUPPLEMENTAL DECLARATION OF RICHARD W.MARK IN SUPPORT OF
    DEFENDANT PORT AUTHORITY'S MOTION FOR SUMMARY JUDGMENT

       Richard W. Mark declares, pursuant to 28 U.S.C. § 1746:

       1.     I am a partner at the law firm of Gibson, Dunn & Crutcher LLP("Gibson Dunn"),

counsel for Defendant Port Authority of New York and New Jersey("Port Authority") in this

action brought by Automobile Club of New York Inc. d/b/a AAA New York and AAA North

Jersey, Inc.("AAA")

       2.      I submit this Supplemental Declaration in further support of Defendant Port

Authority's Motion for Summary Judgment.

       3.      AAA submitted as Exhibit Q to the Mulry Declaration, executed on August 21,

2015, excerpts of the Port Authority's financial reports, including an excerpt from the Port

Authority's 2011 financial report. Attached to this declaration as Exhibit A is a true, correct, and

complete copy ofthe Port Authority's 2011 audited financial report.

       4.      Attached to this declaration as Exhibit B is a true and correct copy of excerpts

from the transcript ofthe deposition of Michael Fabiano, dated November 29,2012.
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      I declare under penalty of perjury that.the foregoing is true and correct.


Executed:    October 9, 2015
             New York, New York
